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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                               Case No. 21-cv-22001-BLOOM/Otazo-Reyes

  MIGUEL ALFONSO SARMIENTO
  LOPEZ, as Personal Representative of the
  Estate of MIGUEL ANGEL
  SARMIENTO BENEGAS,

         Plaintiff,
  v.

  CMI LEISURE MANAGEMENT, INC.
  and CRUISE MANAGEMENT
  INTERNATIONAL, INC., INSTITUTE FOR
  SHIPBOARD EDUCATION and GREACCE KELLY
  ESCOBAR ALFONSO, M.D.,

         Defendants.
                                                    /

       DEFENDANT GREACCE KELLY ESCOBAR ALFONSO, M.D.’S MOTION TO
                   DISMISS PLAINTIFF’S COMPLAINT FOR
                    LACK OF PERSONAL JURISDICTION

         Defendant, GREACCE KELLY ESCOBAR ALFONSO, M.D. (hereinafter “Dr.

  Escobar”), by and through undersigned counsel and pursuant to the applicable Federal Rules of

  Civil procedure and Florida Statutes, hereby makes this limited appearance for the specific

  purpose of moving to dismiss Plaintiff’s Complaint against Dr. Escobar [21-23903-CIV ECF 1]

  for lack of personal jurisdiction, and states:


                                            INTRODUCTION

         Plaintiff, MIGUEL ALFONSO SARMIENTO LOPEZ (“Plaintiff”), as Personal

  Representative of the Estate of MIGUEL ANGEL SARMIENTO BENEGAS (“Decedent”),

  alleges damages against Dr. Escobar for an illness suffered by Decedent while working onboard

  the M/V World Odyssey (“the vessel”). [21-23903-CIV ECF 1] Dr. Escobar is a citizen of
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  Colombia. Dr. Escobar has virtually no ties to Florida except sporadic and fortuitous contacts.

  No personal jurisdiction exists over Dr. Escobar and Plaintiff’s Complaint against Dr. Escobar

  must be dismissed for lack of personal jurisdiction.

         Decedent does not, as he cannot, allege sufficient facts to bring this action against Dr.

  Escobar, a foreign Defendant, within the ambit of Florida’s long-arm statute § 48.193. The

  Court cannot exercise specific jurisdiction because the subject incident did not occur in Florida.

  Similarly, the Court cannot exercise general jurisdiction because, even accepting the allegations

  in Plaintiff’s Complaint, this does not come close to being the “exceptional case” the Supreme

  Court contemplated where a foreign corporation meets the very stringent “at home” test for

  general jurisdiction. Indeed, Daimler AG v. Bauman, 134 S. Ct. 746, 187 L. Ed. 2d 624 (2014)

  signaled a “dramatic change” and made it “incredibly difficult to establish general jurisdiction in

  a forum other than the place of incorporation or principal place of business.”

                                  Statement of Jurisdictional Facts

   1.    Dr. Escobar, who was employed to be the shipboard doctor on the M/V World Odyssey is

  a citizen of Colombia. See Miguel Alfonso Sarmiento Lopez as personal representative of the

  Estate of Miguel Angel Sarmiento Benegas v. Institute for Shipboard Education and Greacce

  Kelly Escobar Alfonso, M.D., originating Case No. 1:21-cv-23903 Complaint (hereinafter

  “Sarmiento v. Escobar Complaint”) [21-23903-CIV ECF 1 at 5]

   2.    The incident alleged in the Complaint does not have any connection with the State of

  Florida, and did not cause injury to a person or property in Florida. Id. at ¶¶ 20-22.

   3.    At the time of the alleged illness of Mr. Sarmiento, Dr. Escobar was working on as the

  shipboard doctor onboard the vessel, M/V World Odyssey. See Declaration in Support of Greacce

  Kelly Escobar Alfonso, M.D. at ¶ 17 attached as “Exhibit A.”
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    4.    Dr. Escobar never provided the Plaintiff with any medical services in the State of Florida or

  in the Florida territorial waters. See Exhibit A, ¶ 18.

    5.    Dr. Escobar has never operated, conducted, engaged in, or carried on a business or business

  venture in the State of Florida. See Exhibit A, ¶ 5.

    6.    Dr. Escobar has never owned, used, possessed, or held a mortgage or other lien on any real

  property in the State of Florida and has never maintained an office in Florida. See Exhibit A, ¶¶ 6-7.

    7.    Dr. Escobar has never engaged in solicitation or service activities in the State of Florida.

  See Exhibit A, ¶ 9.

    8.    Dr Escobar has never been involved in any substantial activity in Florida and her only

  contact with the State of Florida has been either incidental to her work onboard cruise ships for

  connection of flights or personal in nature and occurring in between voyages. See Exhibit A, ¶¶ 12-

  13.

    9.    Dr. Escobar is not licensed to practice medicine in Florida or anywhere else in the United

  States. See Exhibit A, ¶ 14.

    10.   Dr. Escobar had no expectation nor could foresee that she would be subjected to jurisdiction

  in the State of Florida, or any place in the United States. See Exhibit A, ¶ 2.

    11.   Dr. Escobar at no time performed or did any activities that would be reasonably expected for

  her to be hailed into the courts in Florida. See Exhibit A, ¶ 22.

    12.   At all times material, the M/V World Odyssey has been registered in and flagged in The

  Bahamas.
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                                    III.   Memorandum of Law

     A. Legal standard for conferring jurisdiction over a nonresident defendant

        A federal court sitting in admiralty undertakes a two-step inquiry in determining whether

  personal jurisdiction exists: the exercise of jurisdiction must (1) be appropriate under the state

  long-arm statute and (2) not violate the traditional notions of fair play and substantial justice of

  the Due Process Clause of the Fourteenth Amendment to the United States Constitution.

  Tarasewicz v. Royal Caribbean Cruises, Ltd., No. 14-CIV-60885, 2015 U.S. Dist. LEXIS 84779

  at *56 (S.D. Fla. June 30, 2015). See also Carmouche v. Tamborlee Mgmt., 789 F.3d 1201, 1203

  (11th Cir. 2015) citing United Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir.2009).;

  “First, the court must determine whether the plaintiff has alleged facts sufficient to establish a

  basis for jurisdiction under Florida's long-arm statute. If the answer is yes, then the court must

  determine whether the exercise of jurisdiction satisfies the Due Process Clause of the Fourteenth

  Amendment to the U.S. Constitution. ‘Only if both prongs of the analysis are satisfied may a

  federal or state court exercise personal jurisdiction over a nonresident defendant.’" Israel v. Alfa

  Laval, Inc., No. 8:20-cv-2133-WFJ-AAS, 2021 U.S. Dist. LEXIS 81200, at *5-6 (M.D. Fla. Apr.

  28, 2021). (citing See Madara, 916 F.2d at 1514).

        “A defendant can be subject to personal jurisdiction under Florida's long-arm statute in

  two ways: first, section 48.193(1)(a) lists acts that subject a defendant to specific personal

  jurisdiction—that is, jurisdiction over suits that arise out of or relate to a defendant's contacts

  with Florida, Fla. Stat. § 48.193(1)(a); and second, section 48.193(2) provides that Florida courts

  may exercise general personal jurisdiction—that is, jurisdiction over any claims against a

  defendant, whether or not they involve the defendant's activities in Florida—if the defendant

  engages in “substantial and not isolated activity” in Florida, id. § 48.193(2).” Id at 1203-1204.
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      “Specific jurisdiction ‘focuses on the relationship among the defendant, the forum, and the

  litigation.’" Id. (citing Walden v. Fiore, 571 U.S. 277, 283-84, 134 S. Ct. 1115, 188 L. Ed. 2d 12

  (2014) (quoting Keeton v. Hustler Mag., Inc., 465 U.S. 770, 775, 104 S. Ct. 1473, 79 L. Ed. 2d

  790 (1984)) (cleaned up)). “Under Eleventh Circuit precedent, specific jurisdiction exists if the

  following three prongs are satisfied: (1) the plaintiff has established that his claims "arise out of

  or relate to" at least one of the defendant's contacts with the forum; (2) the plaintiff has

  demonstrated that the defendant "purposefully availed" itself of the privilege of conducting

  activities within the forum state; and (3) the exercise of jurisdiction would not violate traditional

  notions of fair play and substantial justice.” Id. (citing See Louis Vuitton Malletier, S.A. v.

  Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013).

        “The reach of section 48.193(2) extends to the limits on personal jurisdiction imposed by

  the Due Process Clause of the Fourteenth Amendment.” Carmouche, 789 F.3d at 1204 (citing

  Fraser v. Smith, 594 F.3d 842, 846 (11th Cir. 2010)). Thus, a district court has general

  jurisdiction over a defendant under section 48.193(2), only when the exercise of jurisdiction over

  said defendant does not exceed constitutional bounds. Id. citing Fraser v. Smith, 594 F. 3d 842,

  846 (11th Cir. 2010). “A court may assert general jurisdiction over foreign (sister-state or

  foreign-country) corporations, without offending due process when their affiliations with the

  State are so ‘continuous and systematic’ as to render them essentially at home in the forum

  State.” Carmouche, 789 F.3d at 1204 citing Goodyear Dunlop Tires Operations, S.A. v. Brown,

  564 U.S. 915, 920, 131 S. Ct. 2846, 2851, 180 L. Ed. 2d 796 (2011) (quoting International Shoe

  Co. v. Washington, 326 U.S. 310, 317, 66 S. Ct. 154, 159, 90 L. Ed. 95 (1945)).

        However, even before the Court engages in the first step of the above noted analysis, it

  should first determine whether the Complaint contains sufficient material facts to support the
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  exercise of jurisdiction. As the Eleventh Circuit recently reiterated, “a plaintiff seeking to

  establish personal jurisdiction over a nonresident defendant bears the initial burden of alleging in

  the complaint sufficient facts to make out a prima facie case of jurisdiction.” Louis Vuitton

  Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013).

          “When a defendant challenges personal jurisdiction by submitting affidavit evidence in

  support of its position, the burden traditionally shifts back to the plaintiff to produce evidence

  supporting jurisdiction.” Id. “If defendants sufficiently challenge plaintiff's assertions, then

  plaintiff must affirmatively support his or her jurisdictional allegations, and may not merely rely

  upon the factual allegations set forth in the complaint.” Roblor Mktg. Grp., Inc. v. GPS Indus.,

  Inc., 645 F. Supp. 2d 1130, 1137 (S.D. Fla. 2009); see also Yepez v. Regent Seven Seas Cruises,

  10-23920-CIV, 2011 WL 3439943, *1 (S.D. Fla. 2011) (King, J) (“t]he party who invokes the

  jurisdiction of the court has the burden of establishing jurisdiction. Rule 8(a) requires the

  plaintiff to set forth in the complaint the factual support for jurisdiction. Fed.R.Civ.P. 8(a)”).

     B.      Plaintiff’s Complaint Fails to Satisfy the Initial Burden of Establishing a Prima
             Facie Basis for Specific Jurisdiction over Dr. Escobar.
     Plaintiff does not allege in his Complaint that the subject incident occurred in Florida. See

  Sarmiento v. Escobar Complaint [21-23903-CIV ECF 1 at ¶ 20] Plaintiff does not allege that Dr.

  Escobar committed a tortious act within this state. Id. It appears that the sole argument for the

  application of specific jurisdiction rests on the theory that that Dr. Escobar “was a medical doctor

  hired by the Defendant ISE through its agent CMI in Florida to serve as the ship’s physician.”

  [ECF No. 41-1 at ¶ 44] As addressed in Defendant’s Motion to Dismiss with Prejudice

  Complaint by Institute of Shipboard Education [ECF 52], ISE itself is not under the personal

  jurisdiction of this Court, thus a Colombian citizen, hired by a company that is not subject to

  Florida’s personal jurisdiction, through an agent that has an office in Florida, is certainly not
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  enough to bring a Defendant into the personal jurisdiction pursuant to Fla. Stat. § 48.193. Thus,

  Plaintiff’s allegations cannot support the exercise of specific jurisdiction.

          “[S]pecific personal jurisdiction authorizes jurisdiction over causes of action arising from

  or related to the defendant's actions within Florida and concerns a nonresident defendant's

  contacts with Florida only as those contacts related to the plaintiff's cause of action.” Wolf v.

  Celebrity Cruises Inc., 683 F. App'x 786, 793 (11th Cir. 2017). With regard to the negligence of a

  ship’s physician, “Florida case law . . . is clear: Florida Courts only have [specific] personal

  jurisdiction over a ship’s doctor if the alleged malpractice occurred inside Florida’s territorial

  boundaries. Laux v. Carnival Corp. 470 F. Supp. 2d 1379, 1382 (S.D. Fla. 2007)(emphasis

  added). “The Florida long-arm statute provides, in relevant part, that a defendant submits himself

  or herself . . . to the jurisdiction of the courts of this state for any cause of action arising from the

  defendant's acts of [o]perating, conducting, engaging in, or carrying on a business or business

  venture in this state or having an office or agency in this state. Id. (internal quotations omitted).

  In other words, specific jurisdiction also “requires a causal connection between the defendant's

  activities in Florida and the plaintiff's cause of action, a requirement known as ‘connexity.’”

  Canale v. Rubin, 20 So.3d 463, 466 (Fla. 2d DCA 2009) (citing Wendt v. Horowitz, 822 So.2d

  1252, 1260 (Fla. 2002)). Absent connexity, the existence of “business activities [in the forum]

  are irrelevant.” Banco de los Trabajadores v. Moreno, 237 So. 3d 1127, 1137 (Fla. 3d DCA

  2018). While the specific jurisdiction inquiry does not require proof of but for causation,

  specific personal jurisdiction still has real limitations and “’does not mean anything goes’ in the

  context of specific jurisdiction. Israel v. Alfa Laval, Inc., No. 8:20-cv-2133-WFJ-AAS, 2021

  U.S. Dist. LEXIS 81200, at *9 (M.D. Fla. Apr. 28, 2021)(citing Ford, 141 S. Ct. at 1026.)
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          In Elmund v. Mottershead, 750 So. 2d 736 (Fla. 3d DCA 2000), the plaintiff’s decedent

  died, while a passenger onboard a cruise ship, allegedly as a result of medical malpractice of the

  shipboard doctor, an English citizen only licensed to practice in the United Kingdom. In

  affirming the trial court’s decision that it did not have personal jurisdiction over the doctor, the

  court held that “there is no connexity under section § 48.193(1)(a) between the present claim,

  which arose during the doctor’s discrete, non-Florida activities on the high seas, and whatever he

  did in Florida.” Id. at 737.

          In the present case, Plaintiff does not allege that Dr. Escobar committed a tortious act in

  Florida, much less allege that any activities occurred in Florida that caused the alleged injuries.

  See Sarmiento v. Escobar Complaint. [21-23903-CIV ECF 1] In fact, when discussing the actual

  injury, there is absolutely no mention of Florida at all, but rather, only vague references to

  multiple countries, ports of calls, and in general, the United States. See generally id. In sum, he

  cannot assert specific jurisdiction based on any tort claims related to the incident. In Wolf, a

  cruise passenger alleging injuries during a shore excursion, the Eleventh Circuit found that

  specific jurisdiction could not be exercised for this exact reason. 683 F. App'x at 793 (“Mr. Wolf

  does not allege that OCT committed a tortious act in Florida and cannot assert specific

  jurisdiction based on any tort claims related to the incident that occurred in Costa Rica.”); see

  also Brown v. Carnival Corp., 202 F. Supp. 3d 1332, 1343 (S.D. Fla. 2016) (Ungaro, J) (finding

  shore excursion operator was not subject to jurisdiction under subsection (1)(a)(1) because it had

  not operated in Florida and plaintiff failed to allege a nexus between the court and the operator’s

  alleged activities); Zapata v. Royal Caribbean Cruises, Ltd., 2013 U.S. Dist. LEXIS 36030, at

  *14 (S.D. Fla. Mar. 15, 2013) (Cooke, J) (citing Island Sea-Faris, Ltd. v. Haughey, 13 So. 3d

  1076 (Fla. 3d DCA 2008) (“[i]f Plaintiff relies on Fla. Stat. § 48.193(1), then Plaintiff must show
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  that there is a nexus between the alleged tort and [Out Island’s] activities in Florida.”)). Florida’s

  Third District Court of Appeals has even recognized “that recent constitutional jurisprudence

  suggests that, to comply with the Fourteenth Amendment's due process requirement, a state court

  may exercise specific jurisdiction over a non-resident defendant only when the complained-

  of injury actually occurs in the forum state.” Banco de los Trabajadores, 237 So. 3d at 1136 n.10

  (citing Bristol-Myers Squibb Co. v. Superior Ct. of Cal., San Francisco Cty., 137 S.Ct. 1773, 198

  L. Ed. 2d 395 (2017)).

     In the present case, not only does Plaintiff’s Complaint fail to allege that Dr. Escobar

  committed any of the acts enumerated in Fla. Stat. §48.193(1) but, even if she had, it is

  irrefutable that Plaintiff’s underlying causes of action did not arise out of any act in Florida or in

  Florida territorial waters. Further, Dr. Escobar provided a sworn affidavit attesting that she never

  provided the Decedent with any medical attention or medical services in the State of Florida or in

  Florida territorial waters (Exhibit “A,” ¶ 18) and Plaintiff’s underlying claim is that the allegedly

  negligent medical treatment occurred in international waters but fails to even state a general

  country or part of the world the ship was in. (21-23903-CIV ECF 1 ¶ 20). Plaintiff’s Complaint

  fails to satisfy the initial burden of establishing a prima facie basis for specific jurisdiction over

  Dr. Escobar. Thus, his Complaint against Dr. Escobar must be dismissed.


     C.      Plaintiff’s Complaint does not allege, much less establish a prima facie basis for
             general personal jurisdiction over Dr. Escobar.
      Fla. Stat. § 48.193(2) provides that a “defendant who is engaged in substantial and not

  isolated activity within this state, whether such activity is wholly interstate, intrastate, or

  otherwise, is subject to the jurisdiction of the courts of this state whether or not the claim arises

  from that activity.” “[T]he requirement of continuous and systematic general business contacts

  establishes a much higher threshold than the minimum contacts required to assert specific
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  jurisdiction.” American Overseas Marine Corp. v. Patterson, 632 So. 2d 1124, 1127-1128 (Fla.

  1st DCA 1994). “General jurisdiction requires far more wide-ranging contacts with the forum

  state than specific jurisdiction, and it is thus more difficult to establish.” Biloki v. Majestic

  Greeting Card Co., Inc., 33 So. 3d 815 (Fla. 4th DCA 2010).

     The Southern District of Florida has held that, to invoke general jurisdiction under

  §48.193(2), a non-resident defendant’s contacts with Florida must be “so extensive as to be

  tantamount to [a defendant] being constructively present in the state to such a degree that it

  would be fundamentally fair to require it to answer in [the forum state’s courts] in any litigation

  arising out of any transaction or occurrence taking place anywhere in the world.” Baker v.

  Carnival Corp., 2006 U.S. Dist. LEXIS 85114 at *7 - *8 (S.D. Fla. 2006) (emphasis added). In

  interpreting §48.193(2):

         Florida courts have held this “substantial and not isolated activity” requirement
         to mean, and subsume, the “continuous and systematic business contacts”
         standard sufficient to satisfy the due process requirement of minimum contacts
         for general jurisdiction, as set forth by the Supreme Court in Helicopteros
         Nacionales de Colombia S.A. v. Hall, 466 U.S. 408, 104 S. Ct. 1868, 80 L.Ed. 2d
         404 (1984), such that “if the defendant’s activities meet the requirements of
         section 48.193(2), minimum contacts is also satisfied.”

  United Technologies Corp. v. Mazer, 556 F.3d 1260, 1275 n. 16 (11th Cir. 2009) (quoting Woods

  v. Nova Companies Belize, Ltd., 739 So. 2d 617, 620 (Fla. 4th DCA 1999)); see also Dean v.

  Jones, 789 So. 2d 1072, 1077 (Fla. 1st DCA 2001). In Helicopteros, a Colombian company,

  Helico, sent its chief executive to Texas to negotiate a contract, accepted checks into its New

  York bank account that were drawn on a Texas bank, purchased millions of dollars in helicopters

  and equipment from Texas, sent its pilots to Texas for training and to ferry the purchased

  helicopters to South America, and sent management and maintenance personnel to Texas for
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  training and consultation. See Helicopteros, 466 U.S. at 415. Notwithstanding, the Supreme

  Court found that Texas did not have general jurisdiction over Helico.

      By following the same reasoning in Helicopteros, Florida’s federal and state courts routinely

  hold that that non-resident ship’s physicians and nurses are not subject to general jurisdiction in

  Florida. In fact, despite a long history of cases being brought searching for general jurisdiction

  over a ship’s doctor in Florida, there is a wide range of holdings finding it does not exist. 1 See

  Laux v. Carnival Corp., 470 F. Supp. 2d 1379 (S.D. Fla. 2007); Elmund v. Mottershead, 750 So.

  2d 736 (Fla. 3d DCA 2000); Farrell v. Royal Caribbean Cruises, Ltd., 2013 U.S. Dist. LEXIS

  8135 (S.D. Fla. 2013); Hesterly v. Royal Caribbean Cruises, Ltd., No. 06-22862-civ-Gold, 2008

  U.S. Dist. LEXIS 13892 (S.D. Fla. 2008); Small v. Chicola, 929 So. 2d 1122 (Fla. 3d DCA

  2006); Barnett v. Carnival Corp., 2007 AMC 1453 (S.D. Fla. 2007); Rana v. Flynn, 823 So. 2d

  302 (Fla. 3d DCA 2002); Benson v. Norwegian Cruise Line, Ltd., 859 So. 2d 1213 (Fla. 3d DCA

  2003); Rossa v. Sills, 493 So. 2d 1137 (Fla. 4th DCA 1986).

         In the present case, Plaintiff’s Complaint is completely deviod of any allegations

  whatsoever to show Dr. Escobar had any contacts with the State of Florida, with the exception

  that she was hired through ISE, through an “agent” who has an office in Miami. [ECF No. 41-1

  at ¶ 44] Plaintiff attempts to surmise that by discussing CMI on their website, ISE is somehow

  adopting CMI as part of their own company, along with their business places in Miami. Further,

  Plaintiff is attempting to argue that because ISE, who is not subject to personal jurisdiction in

  1
    The only apparent Florida state court decision to hold that a non-resident ship’s physician was
  subject to general personal jurisdiction in Florida was quickly overruled by the Third District Court
  of Appeals based on the overwhelming harmony and uniformity of maritime law on this topic. See
  Taylor v. Gutierrez, 129 So. 3d 415 (Fla. 3d DCA 2013)(“because Dr. Taylor's contacts with the
  State of Florida were not sufficient to meet either Florida’s long arm statute, section 48.193, or the
  federal due process considerations set forth by the United States Supreme Court in Helicopteros, the
  court below erred in finding general jurisdiction over him. We therefore reverse the order denying
  Dr. Taylor’s motion to dismiss for lack of personal jurisdiction, and remand with instructions to enter
  an order of dismissal.”).
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  Florida either, but may have an agent who is located in Miami, hired Dr. Escobar, that would be

  enough to bring Dr. Escobar until the jurisdiction of Florida. There are absolutely no mentions

  throughout the remainder of the Complaint as to any nexus Dr. Escobar may have with Florida.

  By Plaintiff’s argument, any person who is hired by a company that does business with a

  company in another state would essentially be subject to the personal jurisdiction of that state,

  just by associating itself publicly with it. Nowhere in the Complaint is it argued that Dr. Escobar

  herself operated, conducted or carried out any business in Florida, maintained an office or

  agency in Florida or purposefully availed itself of the benefits or privileges of business in

  Florida.

         Conversely, Dr. Escobar provided a sworn affidavit attesting that, among other things,

  she is a citizen of Colombia and has never been a citizen or resident of Florida or the United

  States. Exhibit “A,” ¶ 4. She has never operated, conducted, engaged in, or carried on a business

  or business venture in the State of Florida and has never had an office or agency in the State of

  Florida. Exhibit “A,” ¶ 5. She has never been engaged in any substantial activity within Florida

  or anywhere in the United States and her only contact with the State of Florida has been either

  incidental to her work onboard cruise ships or personal in nature and occurring in between

  voyages. Exhibit “A,” ¶ 12-13. Plaintiff’s Complaint does not contain any factual allegations to

  show that Dr. Escobar had any contacts with Florida, let alone substantial contacts which would

  subject her to the high threshold that a finding of general personal jurisdiction requires.

                                                  Conclusion

        Plaintiff’s Complaint fails to satisfy the initial burden of establishing a prima facie basis

  for personal jurisdiction over Dr. Escobar. Dr. Escobar is not at home in Florida and specific

  jurisdiction cannot be exercised for lack of connexity.          Furthermore, exercising personal
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  jurisdiction over Dr. Escobar would not satisfy the Due Process Clause of the Fourteenth

  Amendment to the U.S. Constitution.       For the foregoing reasons, Dr. Escobar respectfully

  submits the Court should dismiss the action against her with prejudice.

        WHEREFORE, Defendant GREACCE KELLY ESCOBAR ALFONSO, M.D. prays this

  Honorable Court enter an Order granting the within Motion and any other relief deemed just and

  proper.

        Dated: February 7, 2022



                                               Respectfully submitted,
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on February 7, 2022, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing is being
  served this day on all counsel of record or pro se parties identified on the attached Service List in
  the manner specified, either via transmission of Notices of Electronic Filing generated by
  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
  to receive electronically notices of Electronic Filing.



                                                        Respectfully submitted,
                                                        /s/ William F. Clair
                                                        William F. Clair


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